        Case 22-11249-abl                  Doc 119           Entered 08/10/22 17:16:19                       Page 1 of 4




 1   MI T C H E L L S TI P P , E S Q.
     N e v a d a B ar N o. 7 5 3 1
 2   L A W O F FI C E O F MI T C H E L L S TI P P, P. C.
     1 1 8 0 N. T o w n C e nt er Dri v e, S uit e 1 0 0
 3   L as V e g as, N e v a d a 8 9 1 4 4
 4   T el e p h o n e: ( 7 0 2) 6 0 2 -1 2 4 2
     E m ail: msti p p @sti p pl a w. c o m
 5

 6   N A T H A N A. S C H U L T Z, E S Q.
     C alif or ni a B ar N o. 2 2 3 5 3 9 [A d mitt e d Pr o H a c Vi c e ]
 7   L A W O F FI C E O F N A T H A N A. S C H U L T Z, P. C.
     1 0 6 2 1 Cr ai g R o a d
 8   Tr a v ers e Cit y, MI 4 9 6 8 6
     T el e p h o n e: ( 3 1 0) 4 2 9 -7 1 2 8
 9
     E m ail: ns c h ult z es q @ g m ail. c o m
10

11   C o -C o u ns el f or D e bt or a n d D e bt or I n P oss essi o n
12                                          U NI T E D S T A T E S B A N K R U P T C Y C O U R T
13
                                                           DI S T RI C T O F N E V A D A
14
        I n r e:                                                                     C as e N o. B K -2 2 -1 1 2 4 9 -a bl
15
                   N U V E D A , L L C, a N e v a d a li mit e d                     C h a pt er 1 1 ( S u b c h a pt er V)
16
                   li a bilit y c o m p a n y,
17                                               D e bt or.                          R E S P O N S E T O C C B ’S M O TI O N F O R
                                                                                     D E C L A R A T O R Y R E LI E F
18

19                                                                                   H e ari n g D at e: A u g ust 2 4 , 2 0 2 2
                                                                                     H e ari n g Ti m e: 1: 3 0 p . m.
20                                                                                   Pl a c e: T el e p h o ni c , A B L C o urtr o o m
21

22
                N u V e d a, L L C ( t h e “D e bt or ”), d e bt or a n d d e bt or i n p oss essi o n i n t h e a b o v e -r ef er e n c e d c h a pt er
23
     1 1 b a n kr u pt c y c as e (t h e “ C h a pt er 1 1 C as e ”), r es p e ctf ull y s u b mit s t his r es p o ns e t o t h e M oti o n f or
24
     D e cl ar at or y R eli ef (“ M oti o n, ” D kt. N o. 9 6) , fil e d b y t h e C a n n a bis C o mpli a n c e B o ar d ( “ C C B ” ). I n
25
     s u p p ort of t his r es p o ns e, t h e D e bt o r r eli es u p o n t h e D e cl ar ati o n of Dr. P ej m a n B a d y (t h e “B a d y
26
     D e cl ar ati o n ”) fil e d as D kt. No. 1 1 8 -1 , t h e D e cl ar ati o n of Mit c h ell Sti p p s e p ar at el y fil e d i n s u p p ort
27
     h er e of (“ Sti p p D e cl ar ati o n ” ), a n d t h e r e c or d i n t his c as e.
28

                                                                              1
        Case 22-11249-abl                 Doc 119           Entered 08/10/22 17:16:19                        Page 2 of 4




 1

 2                                                             ME M O R A N D U M

 3             As t h e c o urt is a w ar e , t h e C C B fil e d a li mit e d j oi n d er t o J e n nif er G ol d st ei n’s m oti o n t o dis miss

 4   t h e D e bt or’s b a n kru pt c y . S e e D kt. N o. 9 2 (“ C C B J oi n d er ” ).               T h e C C B J oi n d er r eli es u p o n t h e

 5   D e cl ar ati o n of E mil y N. B or d el o v e, S e ni or D e p ut y Att or n e y G e n er al (“ B or d el o v e D e cl ar ati o n ,” D kt.

 6   N o. 9 4). A c c or di n g t o t h e C C B J oi n d er, “ D e bt or ’s o w n ers hi p i nt er est [i n Cl ar k N M S D, L L C (“ Cl ar k

 7   N M S D ” ) a n d N y e N at ur al M e di ci n al S ol uti o ns, L L C ( “ N y e N at ur al ” )] w as n ot fo r m all y tr a nsf err e d

 8   u n d er t h e C C B. ” S e e C C B J oi n d er, D kt. N o. 9 2, p a g e 2 (li n e 8) ( e m p h asis a d d e d). T h e C C B i n its

 9   fili n g d o es n ot e x pl ai n w h at it m e a ns b y t h e p hr as e “ f or m all y tr a nsf err e d.” H o w e v er, it s e e ms t h at

10   t h e C C B m a y b e a c k n o wl e d gi n g t h at its r e c or ds ar e n ot c o m pl et e (fr o m t h e tr a nsiti o n of r e g ul at or y

11   o v ersi g ht b y t h e N e v a d a D e p art m e nt of T a x ati o n t o t h e C C B o n J ul y 1 , 2 0 2 0). As p oi nt e d o ut b y

12   t h e D e bt or, t h e r e c or ds of t h e C C B cl e ar l y d o n ot s h o w t h at t h e D e bt or h as a c a n n a bis li c e ns e or o w ns

13   a n y i nt er est i n a c a n n a bis li c e ns e d e ntit y. S e e B a d y D e cl ar ati o n, ( p ar a. 6 a n d 7) ( E x hi bits 5 -8 ).

14

15             O n J u n e 1 2, 2 0 1 9 (t h e d at e of t h e tr a ns a cti o n w h er e b y D e bt or di v est e d its elf of i nt er ests i n

16   Cl ar k N M S D a n d N y e N at ur al ), c h a n g e of o w n ers hi p w as g o v er n e d b y N e v a d a A d mi nistr ati v e C o d e

17   § 4 5 3 D. 3 1 5( 5) , w hi c h w as s u bs e q u e ntl y r e p e al e d b u t pr o vi d e d as f oll o ws:

18
               A tr a nsf er of a n o w n ers hi p i nt er est i n a n y a m o u nt i n a m arij u a n a
19             est a blis h m e nt is n ot eff e cti v e u ntil t h e D e p art m e nt h as b e e n n otifi e d o n a
20             f or m pr es cri b e d b y t h e D e p art m e nt of t h e i nt e nt t o tr a nsf er a n o w n ers hi p
               i nt er est i n t h e m arij u a n a est a blis h m e nt a n d t h e D e p art m e nt h as f o u n d t h at
21             e a c h p ers o n t o w h o m a n o w n ers hi p i nt er est is pr o p os e d t o b e tr a nsf err e d
               is i n di vi d u all y q u alifi e d t o b e a n o w n er of t h e m arij u a n a est a blis h m e nt.
22

23
     ( e m p h asis a d d e d). As c o nfir m e d b y t h e B a d y D e cl ar ati o n, th e N e v a d a D e p art m e nt of T a x ati o n
24
     r e c ei v e d n oti c e of t h e c h a n g e of o w n ers hi p a p pli c ati o ns a n d Dr. B a d y, Dr. M o h aj er, a n d Mr. K e n n e d y
25
     w er e alr e a d y i n di vi d u all y q u alifi e d t o b e o w n ers.       E v e n t h e C C B r e c o g ni z es t h at N u V e d a, L L C, a
26
     D el a w ar e li mit e d li a bilit y c o m p a n y (“ N u V e d a D E ” ), is o w n e d b y t h e s a m e i n di vi d u als i n t h e s a m e
27
     p er c e nt a g es as t h e y o w n t h e D e bt or. A c c or di n gl y, t h e tr a nsf er w as eff e cti v e . T his c o n cl usi o n m a y
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                                                                               2
        Case 22-11249-abl                  Doc 119          Entered 08/10/22 17:16:19                      Page 3 of 4




 1   b e t h e r e as o n w h y t h e C C B J oi n d er f o c us es o n t h e i nj u n cti o ns fil e d i n C as e N o. A -1 7 -7 5 5 4 7 9 -B . I n

 2   ot h er w or ds, t h e C C B w a nts a b asis t o cl ai m t h e tr a nsf ers c o ul d n ot h a v e o c c urr e d r e g ar dl ess of n oti c e

 3   a n d pri or a p pr o v al of Dr. B a d y, Dr. M o h aj er, a n d Mr. K e n n e d y as o w n ers . H o w e v er, as p oi nt e d o ut

 4   b y t h e D e bt or, t h e i nj u n cti o ns d o n ot a p pl y b e c a us e t h e D e bt or p ai d its j u d g m e nt. S e e B a d y

 5   D e cl ar ati o n ( p ar a. 1 ; E x hi bit 1 ).

 6

 7                                               P O SI TI O N O N A U T O M A TI C S T A Y

 8

 9             T h e D e bt or d o es n ot h a v e a n y i nt er est i n Cl ar k N M S D or N y e N at ur al. T h e D e bt or ’s o p er ati n g

10   a gr e e m e nt pr o hi bits t h e D e bt or fr o m b ei n g i n v ol v e d i n t h e c a n n a bis b usi n ess. S e e B a d y D e cl ar ati o n

11   ( p ar a. 5 ; E x hi bit 4 ).    F urt h er, t h e D e bt or will a m e n d its pl a n of r e or g a ni z ati o n o n fil e e x pli citl y t o

12   cl arif y D e bt or ’s a b a n d o n m e nt of a n y ri g hts or i nt er ests r el at e d t o Cl ar k N M S D a n d N y e N at ur al .

13   Ti m e, m o n e y, a n d r es o ur c es c o ul d h a v e b e e n s a v e d if t h e C C B a c c e pt e d t h e D e bt or ’s off er t o a ns w er

14   q u esti o ns, pr o vi d e d o c u m e nts, a n d e nt er a sti p ul ati o n. S e e Sti p p D e cl ar ati o n, E x hi bit 1 . T o b e dir e ct,

15   D e bt or w as bli n d si d e d b y t h e C C B J oi n d er a n d t h e M oti o n .

16

17             F or t h e r e as o ns s et f or t h a b o v e, th e a ut o m ati c st a y d o es n ot a p pl y t o Cl ar k N M S D a n d N y e

18   N at ur al . As a r es ult, t h e D e bt or d o es n ot n e e d t o a d dr ess w h et h er S e cti o n 3 6 2( b)( 4) a p pli es . D e bt or

19   h as a bs ol ut el y n o o bj e cti o n t o t h e c o urt e nt eri n g a n or d er c o nf ir mi n g t h at t h e a ut o m ati c st ay u n d er

20   S e cti o n 3 6 2( a) of t h e B a n kr u pt c y C o d e d o es n ot a p pl y t o t h e C C B ’s r e g ul ati o n of Cl ar k N M S D a n d

21   N y e N at ur al .

22

23   ///

24   ///
25   ///

26   ///

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        Case 22-11249-abl                     Doc 119    Entered 08/10/22 17:16:19   Page 4 of 4




 1

 2   D A T E D t his 1 0t h d a y of A u g ust , 2 0 2 2.

 3

 4   R es p e ctf ull y s u b mitt e d b y:

 5   L A W O F FI C E O F MI T C H E L L S TI P P, P. C.

 6   B y:       /s/Mit c h ell Sti p p
            MI T C H E L L S TI P P, E S Q.
 7
            N e v a d a B ar N o. 7 5 3 1
 8          1 1 8 0 N. T o w n C e nt er Dri v e, S uit e 1 0 0
            L as V e g as, N e v a d a 8 9 1 4 4
 9
     C o -C o u ns el f or D e bt or a n d D e bt or i n P oss essi o n
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